Case 3:08-cr-01540-JM   Document 211     Filed 09/15/08   PageID.736        Page 1 of 1



 1
 2
 3
 4
 5
 6
 7
 8
                          UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA
10
                              (HON. JEFFREY T. MILLER)
11
12   UNITED STATES OF AMERICA,      )            Case No. 08 CR 1540-JM
13
                                    )
                    Plaintiff,      )            ORDER TO CONTINUE
14                                  )            SENTENCING
15        v.                        )
16
                                    )
     ROBERT ROCCO,                  )
17                                  )
18                  Defendant.      )
19
     ______________________________ )

20
                 IT IS HEREBY ORDERED that the sentencing for Defendant
21
     Robert Rocco now set for September 29, 2008, at 9:00 a.m. be continued to
22
     November 7, 2008 at 9:00 a.m.
23
24
     DATED: September 15, 2008
25
26                                           Hon. Jeffrey T. Miller
                                             United States District Judge
27
28

                                                                       08 CR 1540-JM (BLM)
